                  Case: 18-11163       Doc: 55       Filed: 03/22/19    Page: 1 of 4




                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF OKLAHOMA

In re:                                           )
                                                 )
JOSEPH PAUL FANNING,                             )        Case No. 18-11163-JDL
SARAH FAY FANNING,                               )        Chapter 13
                                                 )
              Debtors.                           )
                                                 )

     DEBTORS’ NOTICE OF WITNESSES AND EXHIBITS FOR APRIL 12 HEARING

          Joseph and Sarah Fanning, debtors in the above-captioned case (“Debtors”), pursuant to

Local Bankruptcy Rule 9014-1, submits this Notice of Witnesses and Exhibits to provide (i) a

brief description of exhibits to potentially be offered, (ii) names of all witnesses to potentially be

called, and (iii) an estimated length of time for Debtors to present evidence and argument at the

Hearing on Debtors’ Amended Objection to Proof of Claim #5 [Doc. No. 51] to be heard on

Friday, April 12, 2019 at 9:30AM before The Honorable Chief Judge Janice Loyd, 215 Dean A.

McGee Ave, 2nd Floor Courtroom, Oklahoma City, OK 73102.

                                            Witnesses
             Debtors may call any one or more of the following witnesses at the Hearing.

No.                 Witness Name                                      Proposed Testimony
1.  Rebekah Qavi, or other authorized corporate              Billing practices of Lamun Mock
    representative                                           Cunnyngham & Davis; Contents,
                                                             methods, and time related to the
                                                             preparation and filing of Form 410S2
                                                             and/or Proof of Claim.

2.       Vinay Prasad, or other authorized corporate         Billing practices of Lamun Mock
         representative                                      Cunnyngham & Davis; Contents,
                                                             methods, and time related to the
                                                             preparation and filing of Form 410S2
                                                             and/or Proof of Claim.

3.       Greg Young, OBA 20899                               Billing practices of Lamun Mock
                                                             Cunnyngham & Davis; Contents,
                                                             methods, and time related to the

                                                     1
               Case: 18-11163       Doc: 55      Filed: 03/22/19     Page: 2 of 4




                                                          preparation and filing of Form 410S2
                                                          and/or Proof of Claim.

4.    Sherell Everette Dunn, or other authorized          Billing practices of Wells Fargo Bank
      corporate representative of Wells Fargo Bank        N.A.; Contents, methods, and time
      N.A.                                                related to the preparation and filing of
                                                          Form 410S2 and/or Proof of Claim.

5.    Matthew J. Hudspeth, OBA 14613                      Billing practices of Baer Timberlake,
                                                          P.C.; Contents, methods, and time
                                                          related to the preparation and filing of
                                                          Form 410S2 and/or Proof of Claim.

6.    Jim Timberlake, OBA 14945                           Billing practices of Baer Timberlake,
                                                          P.C.; Contents, methods, and time
                                                          related to the preparation and filing of
                                                          Form 410S2 and/or Proof of Claim.

7.    Michael George, OBA 22570                           Billing practices of Kivell, Rayment &
                                                          Francis, P.C.; Contents, methods, and
                                                          time related to the preparation and
                                                          filing of Form 410S2 and/or Proof of
                                                          Claim.

8.    Kirk Cejda, OBA 12241                               Billing practices of Shapiro & Cejda,
                                                          LLC; Contents, methods, and time
                                                          related to the preparation and filing of
                                                          Form 410S2 and/or Proof of Claim.

9.    Lesli Bailey-Peterson, OBA 14177                    Billing practices of Shapiro & Cejda,
                                                          LLC; Contents, methods, and time
                                                          related to the preparation and filing of
                                                          Form 410S2 and/or Proof of Claim.

10.   Rebuttal witnesses, if necessary                    N/A

11.   All witnesses listed by any other party in this     N/A
      matter or in In re Morris (18-13787-JDL) or In re
      Snow (18-14846-JDL).


                                         Exhibits
           Debtors may use any one or more of the following exhibits at the Hearing.

No.                                           Description
1.  All pleadings filed in this case as of the time of the Hearing

                                                2
               Case: 18-11163         Doc: 55    Filed: 03/22/19      Page: 3 of 4




2.    All pleadings filed in In re Morris (18-13787-JDL), In re Snow (18-14846-JDL), In re
      Sherwan (18-10134-JDL), and In re Mason (17-14878-JDL) as of the time of the Hearing.
3.    Rebuttal Exhibits
4.    All exhibits listed by any other party in this matter or in In re Morris (18-13787-JDL) or In
      re Snow (18-14846-JDL).


                Estimated Length of Time to Present Evidence and Argument

       Debtors estimate that it will require up to 1 hour to present evidence and argument at the

Hearing.

                                      Reservation of Rights

       The foregoing is being submitted based on information reasonably available to Debtors at

this time and without waiving any objection as to relevance, materiality, or admissibility of

evidence at the Hearing. Debtors reserve the right at any time to amend, revise, correct,

supplement, or clarify this Notice.

                                                 Respectfully Submitted,
                                                 SANSONE HOWELL PLLC

                                                 /s/ Jason A. Sansone_____________________
                                                 Jason A. Sansone, OBA No. 30913
                                                 Sansone Howell PLLC
                                                 4600 SE 29th St., Suite 500
                                                 Del City, Oklahoma 73115
                                                 Telephone: (405) 455-1032
                                                 Facsimile: (866) 679-1329
                                                 Email: JSansone@SansoneHowell.com
                                                 COUNSEL FOR DEBTORS
Dated: March 22, 2019




                                                 3
               Case: 18-11163       Doc: 55     Filed: 03/22/19     Page: 4 of 4




                CERTIFICATE OF MAILING / ELECTRONIC SERVICE

       I, Jason A. Sansone, hereby certify that on March 22, 2019, a true and correct copy of the
above was electronically served using the CM/ECF system to John Hardeman, Chapter 13
Trustee, the Office of the United States Trustee, and:

Kirk J. Cejda OBA #12241
770 NE 63rd St
Oklahoma City, OK 73105
Attorney for Wells Fargo Bank, N.A.


                                                /s/ Jason A. Sansone
                                                Jason A. Sansone, OBA 30913




                                                4
